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Chief Judge Ricardo S. Martinez

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR20-215RSM
Plaintiff,
ACCEPTANCE OF PLEA OF
V. GUILTY, ADJUDICATION OF
GUILT AND NOTICE OF
SAM BROOKS, SENTENCING
Defendant.

 

 

 

 

This Court, having considered the Report and Recommendation of the United States
Magistrate Judge, to which there has been no timely objection, and subject to consideration

of the Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(1)(B), hereby accepts the plea of
guilty of the defendant to the charge contained in Count | of the Indictment, and the
defendant is adjudged guilty of such offense. All parties shall appear before this Court for

sentencing as directed.

IT IS SO ORDERED this Eb aig of July, 2021. a

RICARDOS. MARTINEZ _—~
Chief United States District Judge

 

ACCEPTANCE OF PLEA OF GUILTY UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

CR20-215RSM /SAM BROOKS - | SRATTTE, WASHINGTON SIU
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